Case 3:07-cr-00058-MCR-CJK Document 104 Filed 08/09/07 Page 1of3

IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

UNITED STATES OF AMERICA
vs. CASE No.: 3:07cr58/MCR

DAVID LEE SCHIMMEL
/

VERDICT FORM

We, the jury, in the above entitled and numbered case, unanimously find the
Defendant, DAVID LEE SCHIMMEL,

COUNT ONE

NOT GUILTY

xX GUILTY beyond a reasonable doubt of the offense of conspiracy to
distribute and possess with intent to distribute cocaine and marijuana, as
charged in Count One.

If you find the Defendant not guilty of Count One, then skip the following and
continue to Count Two. If you have found the Defendant guilty of Count One, then you
must determine the amount of cocaine and marijuana involved in the conspiracy, and
indicate your unanimous decision by checking one of the following:

Cocaine

x Five (5) kilograms or more of a mixture or substance containing a detectable
amount of cocaine.

Less than five (5) kilograms, but five hundred (500) grams or more of a
mixture or substance containing a detectable amount of cocaine.

Less than five hundred (500) grams of a mixture or substance containing a
detectable amount of cocaine.

The offense did not involve cocaine.
FILED IN OPEN COURT THIS

I- P- 2007
Page 1 of 3 CLERK, U.S, DISTRICT

COURT, NORTH, DIST. FLA.

Case 3:07-cr-00058-MCR-CJK Document 104 Filed 08/09/07 Page 2 of 3

Marijuana

y

Xx

One thousand (1000) kilograms or more of a mixture or substance containing
a detectable amount of marijuana.

Less than one thousand (1000) kilograms, but one hundred (100) kilograms
or more of a mixture or substance containing a detectable amount of
marijuana.

Less than one hundred (100) kilograms of a mixture or substance containing
a detectable amount of marijuana.

Less than fifty (50) kilograms of a mixture or substance containing a
detectable amount marijuana

The offense did not involve marijuana.

COUNT TWO

NOT GUILTY

GUILTY beyond a reasonable doubt of the offense of possession with intent
to distribute cocaine, as charged in Count Two.

If you find the Defendant not guilty of Count Two, then skip the following and continue to
Count Three. If you have found the Defendant guilty of Count Two, then you must
determine the amount of cocaine involved, and indicate your unanimous decision by
checking one of the following:

Cocaine

XxX

Five (5) kilograms or more of a mixture or substance containing a detectable
amount of cocaine.

Less than five (5) kilograms, but five hundred (500) grams or more of a
mixture or substance containing a detectable amount of cocaine.

Less than five hundred (500) grams of a mixture or substance containing a
detectable amount of cocaine.

Page 2 of 3
Case 3:07-cr-00058-MCR-CJK Document 104 Filed 08/09/07 Page 3 of 3

COUNT THREE

NOT GUILTY

GUILTY beyond a reasonable doubt of the offense of possession with intent
to distribute marijuana, as charged in Count Three.

\f you find the Defendant not guilty of Count Three, then skip the following section
regarding the amount of marijuana. The foreman should date and sign the verdict form.
If you have found the Defendant guilty of Count Three, then you must determine the
amount of marijuana involved, and indicate your unanimous decision by checking one of
the following:

Marijuana
X Less than one thousand (1000) kilograms, but one hundred (100) kilograms
or more of a mixture or substance containing a detectable amount of
marijuana.

Less than one hundred (100) kilograms of a mixture or substance containing
a detectable amount of marijuana.

Less than fifty (50) kilograms of a mixture or substance containing a
detectable amount marijuana

SO SAY WE ALL, this the q day of Qesust , 2007.

Fpreperson's Signature

Page 3 of 3
